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                              IN THE UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES                                       :       Case No. 3:17-cv-00072

                    Plaintiff                             :       Judge MOON
                                                                  Mag. Judge Hoppe

                                                          :
            -v-

    JASON KESSLER et al.                                  :

                                                          :
                    Defendants

    _______________________________________________________

         MOTION FOR INTER DISTRICT TRANSFER AND RESPONSE
       TO COURT’S REQUEST FOR BRIEFING ON TRIAL FEASIBILITY
    _______________________________________________________

            Defendants Kessler, Damigo, Parrott, Traditionalist Worker’s Party and Identity

    Evropa (“Defendants”) move the Court to transfer this case to a different division within the

    Western District of Virginia, and otherwise respond to the Court’s request for briefing on trial

    feasibility as follows:


        A. Transfer of trial within the Western District of Virginia

            The local rules of this Court, at Local R. 2(b), provide that “Civil actions for which

    venue is proper in this district must be brought in the proper division as well. The venue rules

    for United States district courts contained in the United States Code also apply in determining

    the proper division in which an action must be filed, so that such venue rules are construed as

    if the terms “judicial district” and “district” were replaced with the word “division.”
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            28 U.S.C. § 1404 provides, in relevant part, “(a) For the convenience of parties and

    witnesses, in the interest of justice, a district court may transfer any civil action to any other

    district or division where it might have been brought or to any district or division to which all

    parties have consented.

    (b) Upon motion, consent or stipulation of all parties, any action, suit or proceeding of a civil

    nature or any motion or hearing thereof, may be transferred, in the discretion of the court,

    from the division in which pending to any other division in the same district.

            “Intradivisional transfers pursuant to 28 U.S.C. § 1404(b) are discretionary transfers

    subject to the same analysis as under § 1404(a) but apparently judged by a less rigorous

    standard.” Hanning v. New England Mutual Life Ins. Co., 710 F. Supp. 213, 215 (S.D. Ohio

    1989); Johnson v. Burlington-Northern, Inc., 480 F. Supp. 259, 260 (W.D. Mo. 1979).

            Under § 1404(a), "a district court should consider the plaintiff's choice of forum, the

    convenience [*3] for witnesses, the accessibility of witnesses and other sources of proof, the

    possibility of obtaining a fair trial, and all other considerations of a practical nature that make

    a trial easy, expeditious and economical. At least some courts have held that intra-district

    transfers are subject to a less rigorous standard than inter-district transfers, because the courts

    consider them less cumbersome.” White v. ABCO Engineering Corp., 199 F.3d 140, 144 (3rd

    Cir. 1999) (addressing the appropriate level of analysis for an inter-district transfer under §

    1404(a) and an intra-district transfer under § 1404(b)” cited by Whitehead v. Pepsi Bottling

    Grp., Inc., No. WMN-07-3478, 2008 U.S. Dist. LEXIS 132980, at *3 (D. Md. Apr. 24, 2008);

    Ramani v. Genesis Healthcare, Inc., No. GJH-19-3342, 2021 U.S. Dist. LEXIS 11255, at *3

    (D. Md. Jan. 21, 2021).

            District Courts in the Fourth Circuit appear comfortable applying the following factors

    to the issue of transferring a case: 1) Plaintiff's Choice of Venue; 2) Witness Convenience and

    Access; 3) Convenience of Parties; and 4) Interest of Justice. Ramani at *3.
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    a. Plaintiff’s Choice of Venue

            Plaintiffs certainly chose the correct district and division to file their lawsuit.

    Nevertheless, plaintiffs’ choice of forum “is not entitled to great weight if the balance of

    conveniences is strongly in favor of (transferring the case).” Cunningham v. Ford Motor Co.,

    413 F.Supp. 1101, 1106 (D.S.C. 1976); Ruff v. Strategic Contract Brands, Inc., Civil Action

    No. 6:15-cv-5004-BHH, 2016 U.S. Dist. LEXIS 106749, at *21 (D.S.C. Aug. 12, 2016). In

    addition, it appears to defendants that at least some of the party plaintiffs no longer live in or

    near Charlottesville VA.

    b. Witness Convenience and Access

            “The convenience of the witnesses is 'perhaps the most important factor' in

    determining whether a transfer of venue should be granted." Ramani at *5. “[i]nconvenience

    of non-party witnesses has more weight than inconvenience of party witnesses, who are

    presumed willing to travel to another forum." Atl. City Assocs. No. 2, LLC v. Reale, No.

    CCB-11-0078, 2011 U.S. Dist. LEXIS 49296 at *3 (D. Md. May 9, 2011).

            In this case, it appears that the Court is willing to permit at least some witnesses to

    appear via “zoom” or other electronic means. Given that testimony via “zoom” has become

    well established and accepted in federal civil litigation since the advent of Covid lockdowns,

    it does not appear to the Defendants that witness convenience, despite its usual status as “the

    most important factor”, adds anything one way or the other to the issue of transfer within the

    District.

    c. Convenience of the Parties

            “The convenience of the parties supports transferring a suit when travel to the original

    venue for extended time will cause hardship on [a party].” Ramani at *7 (D. Md. Jan. 21,

    2021). For the same reason as stated above, the “convenience of the parties” does not appear

    to have any particular relevance to the issue at hand.
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    d. Interest of Justice

            "The interest of justice 'is intended to encompass all those factors bearing on transfer

    that are unrelated to convenience of witnesses and parties.'" Cross v. Fleet Reserve Ass'n

    Pension Plan, 383 F. Supp. 2d 852, 857 (D. Md. 2005). Among the commonly considered

    interest of justice factors are the relative advantage and obstacles to a fair trial; the other

    practical problems that make a trial easy, expeditious, and inexpensive; and the administrative

    difficulties of court congestion. Ramani at *8 (D. Md. Jan. 21, 2021).

            The underlying facts of this matter were among the most publicized news stories of

    August 12, 2017 all around the county. 1 While the years long slog through this litigation has

    removed “Charlottesville” from the nation’s front page, it will no doubt re-acquire that status

    as trial commences. As such, the physical security of participants in this trial should be the

    main consideration as to the interests of justice.

            It is undeniably a matter of speculation whether or not a “circus atmosphere” will

    materialize once trial begins. Moreover, at the recent “feasibility” hearing, plaintiffs argued

    that persons wishing to physically protest at the trial can just as easily travel anywhere in the

    Western District as they can to Charlottesville. While true, this observation of the plaintiffs

    misses the point.

            Local authorities, in January 2017, publicly identified Charlottesville as the “capital of

    the resistance” to the Defendants’ political speech. 2 It does not appear, since that designation

    was made, that anyone with authority in Charlottesville has made any attempt to walk back or

    clarify that statement. It is widely believed, and not just by the defendants to this case, that

    Charlottesville authorities failed to intervene in criminal activity on August 12, 2017 until the

    1
      https://www.nytimes.com/2017/08/12/us/charlottesville-protest-white-nationalist.html;
    https://www.cbsnews.com/news/1-dead-19-injured-after-car-plows-into-protesters-in-charlottesville/;
    https://www.washingtonpost.com/news/the-fix/wp/2017/08/12/trump-responds-to-charlottesville-protests/;
    https://www.cnn.com/2017/08/12/us/charlottesville-white-nationalists-rally/index.html
    2
      https://www.wvtf.org/post/mayor-calls-charlottesville-capital-resistance#stream/0
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    public disorder was so out of hand that the planned “Unite the Right” rally was shut down by

    the police. 3

            There does not appear to have been any public clarification of the “capital of the

    resistance” comment since it was made in January 2017. Neither have Charlottesville

    authorities seen fit to issue one of those “make no mistake” statements politicians are so fond

    of regarding the certainty of even-handed arrests and prosecutions for misconduct surrounding

    the trial. Indeed, Charlottesville authorities have remained silent even though the

    Charlottesville community is aware that the possibility of moving the trial was recently

    discussed in open court. 4

            Whatever Charlottesville authorities subjectively intend by their statements and their

    silence, what they have objectively done is roll out a red carpet to anyone, especially anyone

    of a “punch a nazi” persuasion, to come to Charlottesville for this trial with the confidence

    that they are very unlikely to face any serious consequence for even criminal misbehavior in

    “the capital of the resistance”.

            Plaintiffs have expressed their own security concerns regarding trial. Defendants do

    not call into question the legitimacy of those concerns. Rather, defendants’ position is that it

    strains credibility to state that it is burdensome to re-tool the security plans for a different

    courthouse given the several months between now and the scheduled start of the trial.

            If the trial is indeed to be moved, that leaves the question of where to move it? As to

    the physical security issue, Defendants don’t have any position on what other division may be

    able to handle the trial as any other location will not suffer from the same security concerns as




    3
      https://www.usatoday.com/story/opinion/2017/12/04/charlottesville-report-tells-us-what-happens-when-police-
    fail-do-their-job-glenn-reynolds-column/917521001/
    4
      https://www.cvilleclergycollective.org/ front page post of the organization’s open letter to Judge Moon
    regarding “venue” of this trial.
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    the Charlottesville division. Thus, the issue of specifically where to send the trial likely

    devolves to secondary issues such as available space and technological capacity.

              According to the website of the United States District Court for the Western District of

    Virginia, each division in the Western District has at least one technologically capable

    courtroom. 5 However, only two, Roanoke and Lynchburg, have more than one

    technologically competent courtroom. Having more than one courtroom available would

    allow that courthouse to conduct another matter requiring modern technology at the same time

    as this trial thereby meeting the legal requirement regarding “court congestion.” As between

    the two, it appears than Lynchburg is about 60 miles closer to Charlottesville than Roanoke

    and as such, is the superior choice for transferee division.

              Accordingly, defendants move the court to transfer trial of this matter to the

    Lynchburg division of the Western District of Virginia.

          B. Covid

              Defendants are unable to do more than speculate as to what the public health situation

    will be in October 2021. Nevertheless, defendants observe that vaccines have been distributed

    and America has grown at least familiar with, if not accepting of, the public health measures

    that were imposed. The defendant’s strong preference, and we believe the plaintiffs agree with

    this preference, is that trial go forward as scheduled if it is at all possible to do so in October

    2021. Defendants prefer that the trial proceed even in the face of renewed lockdowns by the

    observance of whatever reasonable public safety measures are then in force.

          C. Electronic communication

              Defendants take no position on the issue of retaining private vendors to provide

    technological services during trial except that Defendants reserve the right to make their own

    arrangements with regard to strictly inter defendant communications during trial.

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        http://www.vawd.uscourts.gov/programs-services/courtroom-technology.aspx
                                                          6
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                                                                Respectfully Submitted,

                                                                s/__James E. Kolenich________
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                                                                Trial Attorneys for Jason Kessler,
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                                                                Traditionalist Worker Party, and
                                                                Identity Evropa


                                  CERTIFICATE OF SERVICE

    I certify the above was served on June 11, 2021 on all ECF participants and that parties
    requiring service by other means were served as follows:


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